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                   UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION
__________________________________________
                                        )
SHERIFF BRAD COE, et al.                )
                                        )
                        Plaintiffs,     )
      v.                                )    No. 3:21-cv-00168
                                        )
JOSEPH R. BIDEN, JR., et al.            )
                                        )
                        Defendants.     )
_______________________________________)

                            CASE MANAGEMENT REPORT

  1. The parties met by telephone on September 15, 2021. Kris W. Kobach represented

     Plaintiffs and Brian C. Rosen-Shaud represented Defendants.

  2. The first three cases below are also challenges to the Memoranda at issue in this

     case:

        a. Texas, et al. v. Biden, et al., No. 21-40618 (5th Cir.); C.A. 6:21-cv-16 (S.D.

             Tex.).

        b. Arizona v. DHS, No. 21-16118 (9th Cir.); No. CV-21-00186-PHX-SRB (D.

             Ariz. June 30, 2021).

        c. Florida v. United States, et al., No. 21-11715 (11th Cir.); C.A. No. 21-541

             (M.D. Fla.).

        d. Plaintiffs contend that Texas v. Biden, No. 2:21-CV-00067-Z (N.D. Tex.) is

             also a related case (the court interpreted 8 U.S.C. 1225(b), which is also at

             issue in this case).


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3. Defendants believe this case concerns two Memoranda issued by DHS and ICE that

      exercise the Executive’s longstanding discretion in setting priorities for the

      enforcement of immigration laws. Plaintiffs maintain that the Memoranda and their

      implementation violate three sections of the INA, the Administrative Procedure Act

      (“APA”), and the Take Care Clause of the Constitution.

4. Defendants believe this Court lacks jurisdiction to consider Plaintiffs’ claims

      because Plaintiffs lack standing to challenge the Memoranda. Plaintiffs maintain

      that they possess standing and, therefore, this Court has jurisdiction to consider

      Plaintiffs’ claims. Defendants also believe that venue is inappropriate in this Court

      for the reasons identified in Defendants’ motion to transfer venue. Plaintiffs

      maintain that venue is in this Court is proper and that the burden to transfer venue

      has not been met, for the reasons described in Plaintiffs’ response to Defendants’

      motion.

5.

         a. Plaintiffs allege that this Court has federal question jurisdiction.

         b. Defendants disagree with Plaintiffs’ allegation of jurisdiction for the reasons

             described in their opposition to Plaintiffs’ motion for preliminary injunction.

         c. n/a

6. There is a pending motion to permit the joinder as Plaintiffs of Galveston County,

      Real County, and the sheriff of Real County. Plaintiffs anticipate that additional

      counties may seek to join over the course of the next month.

7. There are no anticipated interventions.

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8. n/a

9. Initial disclosures have not been made yet. Defendants believe this case is exempt

   from the initial disclosure requirements of Rule 26(a) because it is an administrative

   record case. See Fed. R. Civ. P. 26(a)(1)(B). Plaintiffs, however, contend that

   several issues go beyond the APA, including the Take Care Clause claim and the

   statutory claims, which Plaintiffs believe may be brought independent of the APA.

   Plaintiffs anticipate calling two expert witnesses and five to eight fact witnesses.

   Plaintiffs will identify those witnesses at whatever date the Court deems

   appropriate. Defendants reserve their right to call witnesses should the court

   disagree with their record review arguments.

10. n/a

11. Discovery plan:

         a. Defendants believe that this is strictly an APA case and should be decided

            on the administrative record. Defendants will transmit the administrative

            record to Plaintiffs electronically. Plaintiffs maintain that several claims fall

            outside of the APA and that additional discovery outside of the

            administrative record will be necessary. Specifically, Plaintiffs will argue

            that ICE memoranda and CBP documents issued after February 18, 2021,

            provide important information about how the Memoranda are being

            implemented.

         b. To the extent that Plaintiffs request discovery outside of the administrative

            record, Plaintiffs are likely to move for such discovery under Citizens to

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          Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971). The Court

          should also resolve Defendants’ jurisdictional objections in a motion to

          dismiss before ordering discovery. An additional threshold issue is related to

          Plaintiffs’ pending motions to file under seal: Plaintiffs intend to request that

          the identity of their ICE employee witnesses be concealed from their

          superiors in order to protect them from retribution.

12. Plaintiffs intend to produce two expert witnesses. Defendants believe that experts

   are not necessary and would be inappropriate because this is an APA case.

   Defendants reserve their right to produce expert witnesses should the court disagree

   with their record review arguments.

13. The parties are uncertain. The date will depend on when the pending motion for

   preliminary injunction is ruled upon and whether discovery is limited to the

   administrative record.

14. Defendants’ position is that to the extent that Plaintiffs request discovery outside of

   the administrative record, Plaintiffs must move for such discovery under Citizens to

   Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971) after reviewing the

   administrative record. Plaintiffs’ position is that this is not strictly an APA case and

   that some discovery outside of the administrative record will be necessary because

   multiple documents and instructions have been issued internally in DHS (after the

   February 18 Memorandum) that detail how ICE and CBP officers are to conduct

   their duties in the wake of the Memoranda. Plaintiffs also believe that DHS is

   possession of statistical and case-specific information that shows how the

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   Memoranda have been implemented in practice. Plaintiffs believe that such

   discovery can be conducted relatively quickly. Given the complex issues presented,

   the many parties, and the possibility of competing expert witnesses, Defendants do

   not agree that discovery will necessarily be conducted relatively quickly.

15. No discovery has taken place to date.

16. The parties do not believe that a prompt settlement is possible.

17. The parties do not believe that alternative dispute resolution techniques are

   reasonably suitable for this case.

18. The parties do not consent to a trial before Judge Edison.

19. No jury trial has been requested.

20. Defendants believe that the case can be decided on the administrative record and a

   live presentation of evidence is unlikely to be necessary. Otherwise, if the testimony

   of live witnesses is permitted, the parties estimate that 40 hours may be necessary

   to present the evidence.

21. None of the pending motions need to be ruled on at the initial conference.

22. The following motions are pending: Plaintiffs’ motion for preliminary injunction,

   Defendants’ motion to transfer venue, Plaintiffs’ motion for the joinder of additional

   parties, and Plaintiffs’ two motions to file affidavits under seal.

23. n/a

24. Plaintiffs filed the Disclosure of Interested Parties on July 30, 2021. ECF No. 26.




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Dated: September 15, 2021          Respectfully submitted,

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                                   BRIGHAM J. BOWEN
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                           CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed

electronically (via CM/ECF) on September 15, 2021.


                                        /s/ Brian Rosen-Shaud
                                        BRIAN C. ROSEN-SHAUD




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